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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.1.1
                               Eastern Division

Florence Mussat, M.D., S.C.
                                             Plaintiff,
v.                                                         Case No.: 1:11−cv−07035
                                                           Honorable Joan B. Gottschall
Global Healthcare Resource, LLC, et al.
                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 26, 2013:


       MINUTE entry before Honorable Geraldine Soat Brown: Telephone status
conference held with counsel. Parties advise that they have reached a settlement
agreement. Parties are consenting to the jurisdiction of the magistrate judge. Status
hearing set for 7/26/13 at 9:45 a.m. Parties may file a motion for preliminary approval in
advance of that date. All matters relating to the referral of this action having been
concluded, the referral is closed and the case is returned to the assigned judge. Notices
mailed by Judicial Staff. (psm, )




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